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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

UNITED STATES OF AMERICA                                 :

                           Plaintiff,                    :
                  v.                                         20 Cr. 015 (PKC)
                                                         :
VIRGIL GRIFFITH,
                                                         :
                           Defendant.
------------------------------------------------------




                               NOTICE OF CHANGE OF FIRM NAME




                                                                                     BRIAN E. KLEIN
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                                                                            Attorneys for Virgil Griffith
         Case 1:20-cr-00015-PKC Document 87 Filed 01/25/21 Page 2 of 2




       TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF

RECORD:

       PLEASE TAKE NOTICE that the law firm of Baker Marquart LLP has changed its firm

name to Waymaker LLP, effective immediately. The firm’s address, telephone number and facsimile

number will remain the same. The firm’s email addresses have been changed from

bklein@bakermarquart.com to bklein@waymakerlaw.com and kaxel@bakermarquart.com to

kaxel@waymakerlaw.com.

       Please update your records to reflect this change.




Dated: January 25, 2021                               Respectfully Submitted,

                                                      /s/ Brian E. Klein
                                                      Brian E. Klein
                                                      Keri Curtis Axel
                                                      Baker Marquart LLP

                                                      -and-

                                                      Sean S. Buckley
                                                      Kobre & Kim LLP

                                                      Attorneys for Virgil Griffith




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